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                              UNITED STATES DISTRICT COURT

                                       DISTRICT OF IDAHO

UNITED STATES OF AMERICA               )
                                       )                       Case 4:12-cr-278-BLW
vs.                                    )
                                       )                       ORDER APPOINTING
                                       )                       CJA COUNSEL
ERICA RODRIGUEZ,                       )
                      Defendant.       )
________________________________ _____)


              Because counsel for the above-named defendant has withdrawn, and the defendant has
testified under oath or has otherwise satisfied the court that she is financially unable to employ counsel
and do not wish to waive counsel, and because the interests of justice so require,

              IT IS HEREBY ORDERED that attorney John Howell is appointed to represent this
defendant in these proceedings.



                                                 DATED: September 30, 2013



                                                 B. LYNN WINMILL
                                                 Chief Judge
                                                 United States District Court
